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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                    Criminal No. 07-201 (MJD/FLN)

UNITED STATES OF AMERICA,      )
                               )
               PLAINTIFF,      )
                               )
           v.                  )       PRELIMINARY ORDER
                               )       OF FORFEITURE
2.   JUAN LUIS FARIAS-MENDOZA, )
                               )
3.   ODILON DELGADO-MEZA,      )
                               )
                DEFENDANTS.    )

      Based on the United States’ motion for a Preliminary Order of

Forfeiture; on the Plea Agreements entered into between the United

States and Defendants Odilon Delgado-Meza and Juan Luis Farias-

Mendoza; on the Court having found that certain property is subject

to forfeiture pursuant to 21 U.S.C. § 853(a); and on the Court’s

determination that, based on the Plea Agreements entered into by

the defendants and based on all of the files and records of this

proceeding, the government has established the requisite nexus

between such property and the offense to which the defendants have

pled guilty,

      IT IS HEREBY ORDERED that:

      1.   the following property is forfeited to the United States

pursuant to 21 U.S.C. § 853(a):

      a.    $16,900.00 in United States currency seized on May 14,

            2007; and

      b.    $5,770.00 in United States currency seized on May 14,

            2007.
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     2.   the Attorney General or his authorized designee may seize

the foregoing property and maintain custody and control of the

property pending the entry of a Final Order of Forfeiture;

     3.    the   United   States    shall,    pursuant    to   21   U.S.C.   §

853(n)(1), publish and give notice of this Order and its intent to

dispose of the foregoing property in such manner as the Attorney

General may direct;

     4.   pursuant to Fed.R.Crim.P. 32.2(b)(3), this Preliminary

Order of Forfeiture shall become final as to defendants Odilon

Delgado-Meza and Juan Luis Farias-Mendoza at the time of their

respective sentencings, and shall be made a part of their sentences

and included in the judgments;

     5.   following the Court’s disposition of all petitions filed

pursuant to 21 U.S.C. § 853(n)(2) or, if no petitions are filed,

following the expiration of the time period specified within which

to file such petitions, the United States shall have clear title to

the foregoing property; and

     6. the Court shall retain jurisdiction to enforce this Order,

and to amend it as necessary pursuant to Fed.R.Crim.P. 32.2(e).



Dated: February 28, 2008
                                         s / Michael J. Davis
                                         MICHAEL J. DAVIS, Judge
                                         United States District Court




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